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                       IN THE UNITED STATES DISTRICT COURT
                                DISTRICT OF KANSAS

United States of America,

                     Plaintiff,

v.                                                             Case No. 04-20115-10-JWL


Dennis Goyer,

                     Defendant.

                                  MEMORANDUM & ORDER

       Defendant Dennis Goyer pled guilty to one count of conspiracy to distribute and

possession with intent to distribute more than 1000 kilograms of marijuana and more than 5

kilograms of cocaine and to one count of money laundering. The court sentenced Mr. Goyer to

300 months imprisonment (but recently reduced that sentence to 243 months in light of

Amendment 782) and further imposed a money judgment in the amount of $14,534,099.00,

representing the proceeds obtained as a result of the conspiracy.

       On May 11, 2015, the Clerk of the Court received a letter from Mr. Goyer in which he

seeks “clarification” about whether and to what extent the government may take money from

Mr. Goyer’s prison account to satisfy the money judgment. The Clerk docketed the letter as a

motion for clarification. In reply to the government’s response to the motion, Mr. Goyer further

alleges that the government has had Mr. Goyer’s account “frozen” and he seeks clarification as

to the amount of money he can maintain in the account for future living expenses.

       Because Mr. Goyer’s motion for clarification in fact seeks a ruling on the authority of the

government and the BOP to apply money in his prison account to the money judgment in this
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case, Mr. Goyer’s motion is a challenge to the execution of his sentence which must be brought

in a petition pursuant to 28 U.S.C. § 2241 in the district in which Mr. Goyer is incarcerated. See

United States v. Vega, 316 Fed. Appx. 644, 645 (9th Cir. March 5, 2009) (contention that BOP

did not have authority to apply money that he received from friends and family members to

restitution payments must be raised through § 2241 petition); Dawson v. Colorado Dept. of

Corrections ex rel. Ortiz, 75 Fed. Appx. 735, 737 n.2 (10th Cir. Sept. 18, 2003) (suggesting that

prisoner’s claim concerning authorization to collect money from prison account to satisfy money

judgment should have been brought under § 2241); United States v. Bryant, 2014 WL 7335181,

at *1 (N.D. Ohio 2014) (motion to clarify whether forfeiture order was intended to apply to

future income could only be brought under § 2241); Smith v. Owen, 2008 WL 4200330. at *1

(D.S.C. 2008) (prisoner’s request that court order BOP to cease all collection efforts more

properly addressed in a § 2241 petition); United States v. Hamlett, 2006 WL 1515604, at *1

(W.D. Va. 2006) (sentencing court lacked jurisdiction to address complaint about collection of

payments toward fine imposed in case). This court, then, lacks jurisdiction to address Mr.

Goyer’s concerns and the motion must be dismissed.



       IT IS THEREFORE ORDERED BY THE COURT THAT Mr. Goyer’s motion for

clarification (doc. 932) is dismissed for lack of jurisdiction.



       IT IS SO ORDERED.



       Dated this 7th day of July, 2015, at Kansas City, Kansas.

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                                     s/ John W. Lungstrum
                                     John W. Lungstrum
                                     United States District Judge




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